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                                                                                                  FILED
                                   UNITED    STATES       DISTRICT        COURT
                                   EASTERN DISTRICT           OF VIRGINIA
                                            Norfolk Division
                                                                                                MAR - 2 2015

                                                                                           CLERK, US DISTRICT COURT
                                                                                                 NORFO! K, VA
 UNITED       STATES       OF AMERICA,




         v.                                                         Criminal         No.    2:14crl37-4




 BARBARA BING,


                            Defendant




                                            MEMORANDUM        ORDER


         This        matter        comes     before         the     court       on    the      Defendant's


 Motion       to     Sever Parties           ("Motion"),           filed on January              29,    2015,

 ECF    No.        13 9,    pursuant        to    Federal         Rules    of     Criminal       Procedure

 8(b)    and 14(a).           An accompanying Memorandum in Support was                                 filed

 on     the    same        day.     ECF     No.      140.     The    United          States      filed     its

 Response on February 11,                    2015.        ECF No.     149.      The Defendant filed

 no reply brief,              and the time to do so has expired.                            The matter is

 fully briefed and is ripe for review.                               For the reasons discussed

 herein,       the court DENIES the Defendant's Motion.

         The         Defendant            has        been         named,        along          with      nine

 co-defendants,              in a    one     hundred five           count       Indictment         filed    on

 October       22,         2014.    ECF     No.      3.   Thus      far,     four     defendants         have

 entered guilty pleas,                 one has not yet been apprehended,                              and the

 Defendant          and     four    other        co-defendants         are      scheduled        to    appear

 before        this         court     for        a    joint        jury     trial          commencing       on
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 May 5, 2015.             ECF    No.     66.       The    Defendant           specifically            has        been

 charged       with       Count     1,       conspiracy         to    commit       health        care       fraud,

 Counts      12-14,        health       care    fraud,         Counts       44-46,       false       statements


 relating       to        health         care       matters,          Counts         76-78,          aggravated

 identity theft,            and Count 101, perjury.

        The    Defendant          seeks       to    sever      her    trial       from    that    of    her       co-


 defendant,          Arlette A.          Johnson         ("Johnson"),             "on the grounds                that

 a joint jury trial would prevent the jury from making a reliable

 judgment about the guilt or innocence of the Defendant." Mot.                                                     at

 1.     Specifically,               the        Defendant             argues        that        Johnson            has

 previously been charged with                         four felony counts of                     unauthorized

 use    of    food        stamps       and    one     count      of        welfare    fraud       in    Circuit

 Court for the City of Virginia Beach for offenses occurring from

 July        2011     through            June       2014.       The         Defendant          expects            the

 Government          to    introduce          this       evidence          pursuant       to    Federal          Rule

 of     Evidence          404(b)        as      evidence         of        Johnson's       prior        crimes,

 wrongs,       or     other         "bad       acts"       in    order        to      prove      intent           and

 knowledge,          among         other        purposes.            Def.'s        Mem.        Supp.        at     3.

 Accordingly,             the    Defendant          argues       that        the     admission          of       this

 evidence       "will           have      spillover            effect        on    the     Defendant              and

 prevent       the    jury from making                   a reliable          determination             of    guilt

 or innocence as             [to]      the Defendant."               Id.

         Federal          Rule     of     Criminal         Procedure           8(b)       allows       multiple

 defendants          to    be    charged         in      the    same       indictment          "if     they       are
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 alleged to have participated in the same act or transaction,                                                                  or

 in   the        same         series          of     acts           or       transactions,             constituting             an

 offense         or      offenses."                Fed.    R.           Crim.       P.    8(b).       "Barring          special

 circumstances,                 individuals                indicted                 together          should       be     tried

 together."               United             States            v.        Brugman,              655     F.2d        540,        542

 (4th Cir. 1981) . However,                               if    the          joinder of              defendants         in   one

 trial      "appears            ~o       prejudice             a defendant                or    the government,                the

 court      may          order       separate             trials."             Fed.       R.    Crim       P.    14(a).      The

 burden is on                 the     moving party,                     in    this       case,       the       Defendant,       to

 show such prejudice,                          and    severance                   should       be     granted       "only       if

 there      is       a    serious            risk    that           a    joint       trial       would          compromise       a

 specific         trial         right         of     one        of       the      defendants,              or   prevent        the

 jury from making a reliable                                   judgment about guilt or innocence."

 Zafiro v.           United States,                  506       U.S.          534,    539       (1993);         United States

 v.   Reavis,            48    F.3d          763,    767        (4th Cir.                1995)       (holding       that       the

 party moving for severance "must establish that actual prejudice

 would result from a joint trial,                                         and not merely that a separate

 trial      would         offer          a    better           chance          of    acquittal") . Such a                    risk

 may be present                 "when evidence                      that       the jury should not consider

 against         a       defendant             and        that           would       not       be     admissible          if     a

 defendant            were      tried alone                is admitted against a                               codefendant."

 Zafiro,     506 U.S.               at    539.

         "The         risk       of      prejudice              will         vary        with       the    facts     in      each

 case,"      and          even        where         the        risk          of     prejudice             is    high,     "less
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 drastic       measures,               such    as        limiting         instructions,              often        will

 suffice       to        cure     any        risk    of       prejudice."              Id.    Thus,        even     if

 prejudice is shown,                   the tailoring of any relief is left                                  "to the

 district       court's          sound discretion."                 Id.   at     538-39.


         Turning         to      the    facts       of    this      case,        the    Defendant           has    not

 shown that          a    separate           trial       is   warranted.          The        Defendant's          only

 argument       is       that      the        "spillover"           evidence           of    Johnson's           prior

 wrongs will prejudice the jury against her.                                          Def.'s Mem.          Supp.    at

 3.    As     the    United        States        correctly            notes,          such    an    argument        is

 based on a speculative factual scenario that:                                          (1)    the government

 will       seek      to        introduce           this       Rule       404(b)            evidence        against

 Johnson;       (2)       the     court       will       grant      the    government's              motion;       and

 (3)    this        evidence           will      have         a     "spillover"               effect        on     the

 Defendant. United States'                      Resp.         at 6.

         Even       if     the    Rule        404(b)       evidence         is    introduced           at       trial,

 and admitted,             against Johnson,                   severance         is not        required simply

 because       the       evidence           against       Johnson         may     be    stronger,           or more

 inflammatory,             than        the     evidence           against        the        Defendant.          United

 States v. Dinkins,                   691     F.3d 358,        368-69       (4th Cir.          2012)       (denying

 severance          when      capital         and    non-capital            defendants              were    charged

 in     the    same        indictment) .            This       is     particularly             true        in    cases

 where        multiple           defendants          participated                in     a    single        criminal

 scheme,       such as          the    health care fraud in this                        case,       and    thus    the

 majority       of       the      evidence          is    relevant          against           all    defendants.
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 United    States          v.    Gross,          199     F.   App'x     219,       232    (4th Cir.           2006)

 ("Because           [the       defendant]             was      involved       in       the     same        overall

 conspiracy as his                   co-defendants,              it was       proper       for       all     of    the

 co-conspirators                to     be        tried        together.");              United        States        v.

 LiCausi,       167       F.3d       36,     49        (1st   Cir.     1999)        ("[S]ince         all     three

 defendants          were       charged           as    coconspirators,             almost        all       of     the

 evidence relating to other defendants was relevant                                             to    . . . the

 prosecution's              case      against            [the    moving        defendant].");                United

 States    v.    Searing,             984    F.2d        960,    965    (8th Cir.             1993)        ("In    the

 context        of        conspiracy,             severance           will     rarely,          if     ever,        be

 required.").

        The Defendant                relies on one case in                    support of          her Motion:

 United States v.                Jones,      839 F.2d 1041              (5th Cir.         1988).       In Jones,

 the   Court         of    Appeals          for    the        Fifth    Circuit          found    that        "where

 evidence        is         admitted             indicating           that      a        co-defendant              has

 committed       a        serious      crime           unrelated       to    the     present         charge        and

 the other defendant,                      the    spillover effect of                   such evidence may

 create     a    risk       of      prejudice           requiring       severance."             Id.     at       1056.

 However,       the court in Jones                     then went on to state that                      "where it

 is    likely        that       a    properly            instructed          jury       would    contain           the

 effect    of    such evidence and apply                          it only against                the culpable

 party, denial of severance is not an abuse of discretion." Id.

        Thus, in this case, if^ the United States moves to introduce

 the   Rule      404(b)          evidence          against       Johnson,          if    the     court       allows
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 the evidence to be admitted,                   and if_ the evidence prejudices the

 Defendant,         any prejudice may be cured by a properly crafted jury

 instruction,            specifically         restricting       the    jury's       consideration

 of     the    evidence       against     Johnson       only.      See,     e.g.,    Zafiro,          506

 U.S.     at    539;      Dinkins,      691    F.3d    at    368      (approving      the       use    of

 limiting       jury instructions              to minimize         any risk of        prejudice);

 United States v.             Naijar,    300    F.3d 466,       475     (4th Cir.         2002)     ("To

 the     extent      there      was     any    actual       prejudice       suffered           by     [the

 defendant]                   . we    think    that    the    district       judge    cured         such

 conflict by proper limiting instructions.").

         The    Defendant's          Motion     to    Sever     is    DENIED.       The    Clerk        is


 DIRECTED       to     forward a copy of             this Memorandum Order                to   counsel

 for the Defendant and the United States Attorney at Norfolk.

         IT    IS   SO   ORDERED.
                                                                      1st
                                                      Rebecca Beach Smith
                                                             Chief
                                                      United States District Judse
                                                REBECCA      BEACH     SMITH
                                                CHIEF UNITED          STATES    DISTRICT        JUDGE


 March        %, 20      15
